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12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13
                                 SAN FRANCISCO DIVISION
14

15   DANIEL VALENTI, Individually and On
     Behalf of All Others Similarly Situated,
16
                           Plaintiffs,                 Case No. 3:21-cv-06118-JD
17
                   v.                                  PLAINTIFFS’ STATEMENT OF
18                                                     RECENT DECISION PURSUANT TO
     DFINITY USA RESEARCH LLC, DFINITY                 LOCAL RULE 7-3(D)(2)
19   FOUNDATION, and DOMINIC WILLIAMS,

20                         Defendants.

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                  PLAINTIFFS’ STATEMENT OF RECENT DECISION – No. 3:21-cv-06118-JD
              Case 3:21-cv-06118-JD       Document 148        Filed 09/03/24      Page 2 of 2




 1          Pursuant to Local Civil Rule 7-3(d)(2), Plaintiffs respectfully submit a relevant recent

 2 judicial opinion, Harper v. O’Neal, No. 23-21912-CIV, --- F. Supp. 3d ---, 2024 WL 3845444

 3 (S.D. Fla. Aug. 16, 2024), which was issued after Plaintiffs filed their Memorandum of Law in

 4 Opposition to Defendants’ Motion to Dismiss the Second Amended Complaint, Dkt. 145 (May 28,

 5 2024); see also Dkt. 147 (vacating hearing date on motion to dismiss). The Harper opinion’s

 6 discussion of liability for solicitation under Section 12(a)(1) of the Securities Act of 1933, see

 7 Harper, 2024 WL 3845444, at *3–4, is relevant to Plaintiffs’ arguments at pages seven to ten of

 8 their opposition brief. See also Dkt. 143, at 15 (Defendants relying on Eleventh Circuit authority).

 9          A copy of the Harper opinion is attached hereto as Exhibit 1.

10   Dated:    September 3, 2024           Respectfully submitted,
11
                                     By: /s/ Jordan A. Goldstein
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